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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                 :

             v.                          :

FREDRICK NORMAN                          :      Criminal No. 22 – 98
BRIANNA WALKER
     a/k/a “Mars,”                       :
STEPHEN NORMAN
CHARLES O’BANNON,                        :
     a/k/a “Chizzy,”
DEVIN CHURCH                             :
     a/k/a “Lant,”
ROGER MILLINGTON                         :
ERNEST PAYTON
KENNETH BURGOS,                          :
     a/k/a “Peppito,”
EDWIN BURGOS,                            :
     a/k/a “Rock,”
ROSELMY RODRIGUEZ                        :
     a/k/a “Roselmy Peralta,”
BRIANNA REED                             :


                                       ORDER



             AND NOW, this      8th    day of April, 2022, it is hereby

                                  ORDERED

that the Search Warrant docketed as Magistrate Number 21-MJ-0005, and accompanying

documents are hereby UNIMPOUNDED.

                                         BY THE COURT:



                                         HONORABLE JOHN MILTON YOUNGE
                                         Judge, United States District Court
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ERNEST PAYTON
KENNETH BURGOS,                              :
     a/k/a “Peppito,”
EDWIN BURGOS,                                :
     a/k/a “Rock,”
ROSELMY RODRIGUEZ                            :
     a/k/a “Roselmy Peralta,”
BRIANNA REED                                 :


                                    MOTION TO UNSEAL

               NOW COMES, the United States of America, by its attorneys, Jennifer Arbittier

Williams, United States Attorney for the Eastern District of Pennsylvania and Priya T. De Souza,

Assistant United States Attorney in and for the same District, and in support of this Motion states

as follows:

               1.     On January 5, 2021, the Honorable Henry S. Perkin, United States

Magistrate, upon motion of the Government, entered an Order impounding the Search Warrant

and accompanying documents, docketed as No. 21-MJ-0005, in the above-captioned matter.


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               2.      The search warrant was executed on or about January 5, 2021.

               3.      On March 19, 2022, Fredrick Norman and ten others were indicted by a

federal grand jury for conduct related to the search warrant.   The defendants are pending trial

before this Court.

               4.      In light of the above, the Government requests that the Search Warrant

and accompanying documents be unsealed and unimpounded, so that discovery can proceed.

               WHEREFORE, the Government respectfully requests that the Government's

Motion to Unseal Search Warrant and Accompanying Documents be granted.



                                              Respectfully yours,

                                              JENNIFER ARBITTIER WILLIAMS
                                              United States Attorney



                                               s/ Priya T. De Souza
                                              PRIYA T. DE SOUZA
                                              Assistant United States Attorney




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                               CERTIFICATE OF SERVICE

              I certify that a copy of the Government's Motion to Unimpound a Search Warrant

and related documents, and Proposed Order was served by ECF on all defense attorneys of

record.



                                           s/ Priya T. De Souza
                                           PRIYA T. DE SOUZA
                                           Assistant United States Attorney



DATE:     April 7, 2022




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